USCA4 Appeal: 24-1799    Doc: 38        Filed: 11/15/2024   Pg: 1 of 1


                                                              FILED: November 15, 2024

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                      ___________________

                                          No. 24-1799 (L)
                                       (1:23-cv-01293-GLR)
                                      ___________________

        SUSANNAH WARNER KIPKE; MARYLAND STATE RIFLE AND PISTOL
        ASSOCIATION, INC.

                     Plaintiffs - Appellants

        v.

        WES MOORE, in his official capacity as Governor of Maryland; ROLAND L.
        BUTLER, JR., in his official capacity as Maryland State Police Superintendent
        and Secretary; JOSHUA KURTZ, in his official capacity as Secretary of Natural
        Resources

                     Defendants - Appellees

                                      ___________________

                                           ORDER
                                      ___________________

              The court grants an extension of the briefing schedule as follows:

              Opening/response brief due: 12/23/2024

              Response/reply brief due: 01/22/2025

              Any reply brief: 21 days from service of response/reply brief.

                                               For the Court--By Direction

                                               /s/ Nwamaka Anowi, Clerk
